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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 15CR2799-CAB

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
TYLER FRANCIS VAN NEVEL,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment:

     18 USC 2113(a) - BANK ROBBERY; 18 USC 2 - AIDING AND ABETTING



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 1/21/16
                                            Jill L. Burkhardt
                                            U.S. Magistrate Judge
